     Case 2:10-cv-00082-GMN-PAL Document 77 Filed 02/26/13 Page 1 of 6



PATRICK E. BAILEY (CA SBN 86875)
KEITH A. LOVENDOSKY (CA SBN 94302)
BAILEY & PARTNERS
A Professional Corporation
2800 28th Street, Suite 200
Santa Monica, California 90405
Telephone:     (310) 392-5000
Facsimile:     (310) 392-8091
Email:         pbailey@baileypartners.com
               klovendosky@baileypartners.com

JAMES L. POCRASS (CA SBN 58033)
JAMES L. POCRASS LAW CORPORATION
1875 Century Park East, Suite 1750
Los Angeles, California 90067
Telephone:    (310) 550-9050
Facsimile:    (310) 550-9051
Email:        jpocrass@pocrass.com

JIM ORONOZ (NV SBN 6769)
ORONOZ ERICSSON LLC
700 South Third Street
Las Vegas, Nevada 89101
Telephone:    (702) 878-2889
Facsimile:    (702) 522-1542
Email:        jim@oronozlawyers.com

Attorneys for Plaintiffs SUSIE LEAHY, REBECCA SUSAN
LEAHY, HANNAH JOY LEAHY and WILLIAM JOHN
LEAHY, III




                         UNITED STATES DISTRICT COURT

                                DISTRICT OF NEVADA

SUSIE LEAHY, et al.,                            Case No. 2:10-CV-00082-GMN-(PAL)

                           Plaintiffs,
                                                PLAINTIFFS’ MOTION IN LIMINE NO. 4
      vs.                                       TO PRECLUDE ANY REFERENCE TO
                                                PLAINTIFF SUSIE LEAHY’S
LONE MOUNTAIN AVIATION, INC., et al.,           REMARRIAGE

                           Defendants.
      Case 2:10-cv-00082-GMN-PAL Document 77 Filed 02/26/13 Page 2 of 6




       Plaintiffs move this court for an order in limine precluding Defendant Lone Mountain

Aviation, Inc. from referencing or information the jury that plaintiff Susie Leahy, following the

death of decedent William Leahy, Jr., remarried.

                    MEMORANDUM OF POINTS AND AUTHORITIES

I.     INTRODUCTION

       After the death of William Leahy, Jr. on August 28, 2008, plaintiff Susie Leahy remarried

and is now residing in another part of the State of California with her new husband and their

children.

       Plaintiffs wish to prevent Lone Mountain Aviation, Inc. from making any reference or

comment to the jury relating to the fact of Susie Leahy’s remarriage.

II.    POINTS AND AUTHORITIES IN SUPPORT OF MOTION
       Federal Rules of Evidence Rule 401 states that evidence is relevant if it has any tendency

to make a fact more or less probable than it would be without the evidence; and the fact is of

consequence in determining the action.

       The fact of remarriage is not relevant to any of the issues set forth in the pleadings filed

by either plaintiffs or Lone Mountain Aviation, Inc. in this case.

       Federal Rules of Evidence Rule 403 states: “The court may exclude relevant evidence if

its probative value is substantially outweighed by danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.”

       Nothing in the wrongful death statute authorizing this claim by plaintiffs against Lone

Mountain Aviation, Inc. in Nevada indicates that a defendant would have any right to reference

remarriage in a wrongful death action. The only reason Lone Mountain Aviation, Inc. would

want to reference such a fact is with the hope of stimulating a jury to award less damages for

economic losses to plaintiff and her children.



                                                 2
      Case 2:10-cv-00082-GMN-PAL Document 77 Filed 02/26/13 Page 3 of 6




       No discovery has been accomplished by Lone Mountain Aviation, Inc. relating to any of

the background facts as to plaintiff’s remarriage, including her present financial situation.

Plaintiff Susie Leahy is entitled to pursue the full array of damages in her wrongful death action

against Lone Mountain Aviation, Inc. Plaintiff has not located any appellate case in Nevada that

has addressed whether evidence of remarriage is admissible in a wrongful death action such as

this, but the vast majority of state courts in other jurisdictions have held that such evidence is

inadmissible.

       It has generally been held that in an action for wrongful death of a married person,

evidence of the surviving spouse’s remarriage is irrelevant on the question of mitigation of

damages and not admissible in evidence when offered for that purpose. Courts have widely held

and recognized this rule.

       For example, in Hing v. Youtsey, 10 Ariz. App. 540, 460, P.2d 646 (1969), evidence of

remarriage was not admissible in a wrongful death action as it related to damages. In State v.

Cress, 22 Ariz. App. 490 528, P.2d 876 (1974), the court agreed with the approach used in

California and Rhode Island about not disclosing the relationship of a remarried spouse. Even

though the court recognized that there were two opposing objections, namely prohibition of the

jury’s consideration of remarriage and informing the jury that a second marriage did exist, the

court believed that the majority rule, such as that established by California in Benwell v. Dean,

249 Cal. App. 2d 345, 57 Cal. Rptr. 394 (1967), was the more appropriate one. The rationale

underlying the majority rule, with which California is in accord, is that the cause of action arises

at the time of decedent’s death and damages are determinable at that time. Any rule providing

for mitigation of damages on account of a surviving spouse’s remarriage is highly speculative

because it involves a comparison of the prospective earnings and contributions of the deceased

spouse with those of the new one. It would also permit a tortfeasor to profit by an actual

remarriage of the widow.



                                                 3
      Case 2:10-cv-00082-GMN-PAL Document 77 Filed 02/26/13 Page 4 of 6




       Evidence that a widow has remarried (or has marital prospects) was inadmissible to

minimize damages in a wrongful death case in Texas.                 (Bailey v. Southern Pacific

Transportation Company, 613 F.2d 1385, 1388 (5th Cir. 1980).)

       In Wright v. Dilbeck, 122 Ga. App. 214, 176, S.E.2d. 715 (1970), an action for wrongful

death of a plaintiff’s wife, it was held that Georgia would follow the majority rule when it held

that the trial court did not commit an error in refusing to permit the defendant to prove that the

plaintiff had remarried. In essence, the court stated that the subsequent marriage of the husband

would not change the measure of damages to which he was entitled when his cause of action

accrued. Also, it did not appear that the evidence of remarriage was necessary to explain or shed

any light upon any other phase of the case.

       Other state jurisdictions are in accord. (Bunda v. Hardwick, 376 Mich. 640, 138 N.W.2d

305 (1965); Hightower v. Dr. Pepper Bottling Company, 117, So. 2d 642 (L.A. App. 1959);

Randles v. Indiana Patients’ Compensation Fund, 860 N.E.2d 1212 (Ind. Ct. App. 2007); Adams

v. Davis, 578 S.W.2d 899 (Ky. App. 1979); Elmahdi v. Ethridge, 987 S.W.2d 366 (Mo. Ct. App.

WB 1999; Burnhill v. Public Service Company, 649 P.2d 716 (Colo. Ct. App. 1982); Smyer v.

Gaines, 332 So. 2d 655 (Fla. Dist. Ct. App. 1976) [remarriage inadmissible to mitigate damage

but allowing evidence of remarriage to provide whole truth under state’s Amended Wrongful

Death Act]; Mulvey v. Illinois Bell Telephone Company, 5 Ill. App. 3d 1057, 284 N.E. 2d 356

(1972), aff’d 53 Ill. App. 2d 591 [remarriage inadmissible for mitigation but did not bar the trial

court from mentioning remarriage as it related to identification of parties during voir dire]; Davis

v. Liesenfeld, 308 Minn. 1, 240 N.W.2d 548 (1976); Haddigan v. Harkins (1971, CA3d Pa.)

441 F.2d 844 [applying Pennsylvania law]; Stuart v. Consolidated Foods Corp., 6 Wash. App.

841, 496 P.2d 527 (1972).)

       There are some other jurisdictions that permit a defendant to produce evidence relating to

remarriage in a wrongful death action. For example, in Ohio, a statute, part of the wrongful



                                                 4
       Case 2:10-cv-00082-GMN-PAL Document 77 Filed 02/26/13 Page 5 of 6




death statutes in that state, specifically provides that a party to a civil action for wrongful death

may present evidence that the surviving spouse of a decedent is remarried. (Ohio Revised Code

§ 2125.02(A)(3)(b)(iii).)

       However, plaintiff asserts that that statutory Code section promulgated by the Ohio State

Legislature represents a minority view with regard to the several states.

       Plaintiff urges this court to adopt the majority rule and prohibit any evidence of plaintiff

Susie Leahy’s remarriage in the trial of this action.

III.   CONCLUSION

       Plaintiffs respectfully request that the court preclude Lone Mountain Aviation, Inc. from

making any reference to plaintiff Susie Leahy’s remarriage after the death of her husband,

stemming from the airplane accident involved in this case.


 DATED:         February 26, 2013            Respectfully submitted,
                                             BAILEY & PARTNERS
                                             A Professional Corporation

                                             JAMES L. POCRASS LAW CORPORATION

                                             LAW OFFICE OF JIM ORONOZ


                                             By:            /s/Keith A. Lovendosky
                                             Attorneys for Plaintiffs SUSIE LEAHY, REBECCA
                                             SUSAN LEAHY, HANNAH JOY LEAHY and
                                             WILLIAM JOHN LEAHY, III




                                                  5
      Case 2:10-cv-00082-GMN-PAL Document 77 Filed 02/26/13 Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing, via electronic and/or first class mail, postage
prepaid, on the following this 26th day of February, 2013:

 J. Mitchell Cobeaga, Esq.
 THE COBEAGA LAW FIRM
 550 East Charleston Boulevard, Suite D
 Las Vegas, Nevada 89104
 Telephone:     (702) 240-2499
 Facsimile:     (702) 240-2489
 Email:         mcobeaga@cotomlaw.com
 Attorneys for Defendant LONE MOUNTAIN
 AVIATION, INC.



       /s/Donna L. Simpson
